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                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK


ROCHE CYRULNIK FREEDMAN LLP,

      Plaintiff,
                                                Case No. 1:21-cv-01746 (JGK)
v.

JASON CYRULNIK,

      Defendant.


JASON CYRULNIK,

      Counterclaim-Plaintiff,

v.

ROCHE CYRULNIK FREEDMAN LLP, KYLE
ROCHE, DEVIN FREEDMAN, AMOS FRIEDLAND,
NATHAN HOLCOMB, and EDWARD NORMAND,

      Counterclaim-Defendants.


JASON CYRULNIK,

      Third-Party Plaintiff,

v.

KYLE ROCHE, DEVIN FREEDMAN, AMOS FRIED-
LAND, NATHAN HOLCOMB, and EDWARD NOR-
MAND,

      Third-Party Defendants.



REPLY MEMORANDUM OF LAW OF COUNTERCLAIM AND THIRD-PARTY DE-
FENDANTS NATHAN HOLCOMB, EDWARD NORMAND, AND AMOS FRIEDLAND
    IN FURTHER SUPPORT OF THEIR MOTION TO DISMISS OR, IN THE
      ALTERNATIVE, MOTION FOR A MORE DEFINITE STATEMENT
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                                        INTRODUCTION

       The brief in support of the motion (“Mot.”) showed that Cyrulnik fails to plausibly allege

any claim for damages against Holcomb, Normand, and Friedland. Confronted with these pleading

deficiencies, Cyrulnik offers little in the way of direct response. The Motion showed, for example,

that the compensation obligations Cyrulnik alleges are the Firm’s, not the partners’ personally. His

silence in opposition concedes the point.

       Instead, seeking to save his statutory claims, Cyrulnik misconstrues a provision in Florida’s

RUPA. The leading case cited in the opening brief addressed the identical provision in California’s

RUPA and rejected the same misreading that Cyrulnik advances. The fact that a statute covering

both general and limited liability partnerships refers to claims against individual partners does not

abrogate protections specific to limited liability partnerships.

       Cyrulnik also fails to save his common law claims. Having alleged that “removal would

not impact Cyrulnik’s core compensation rights under the MOU in any event” (¶ 81), which

is fatal to his claims, Cyrulnik now says he was pleading in the alternative and assuming arguendo

that his removal had cause. That is neither here nor there. The point is this: Under Cyrulnik’s own

allegations, regardless of whether or not there was cause for his removal, removal did not affect

his compensation. It therefore caused no financial harm.

                                            ARGUMENT

  I.   THE COURT SHOULD DISMISS CYRULNIK’S STATUTORY COUNTER-
       CLAIMS TO THE EXTENT THEY SEEK TO HOLD HOLCOMB, NORMAND,
       OR FRIEDLAND PERSONALLY LIABLE

       The Motion showed (at 6) that under Fla. Stat. § 620.8306(3), partners in a limited liability

partnership are not personally liable for its obligations. Cyrulnik’s own authority makes clear that

this provision “bars” claims against individual partners to the extent they are “based on the
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partnership’s obligations.” W. Acquisitions & Invs. Grp., Inc. v. Zimmer Gunsul Frasca Architects,

LLP, 2008 WL 11331815, at *3 (S.D. Fla. Aug. 13, 2008).

       Citing Fla. Stat. § 620.8405, Cyrulnik contends (at 10–14) that partners may “sue each

other, including for precisely the claims that Cyrulnik has brought.” That argument might make

sense in the context of a general partnership, where “all partners are liable jointly and severally

for all obligations of the partnership.” Fla. Stat. § 620.8306(1). But Fla. Stat. § 620.8405 does not

abrogate the protection Fla. Stat. § 620.8306(3) confers on limited liability partners.

       The Motion’s leading case answers Cyrulnik’s argument. In Rappaport v. Gelfand, 197

Cal. App. 4th 1213 (2011), the dissociated partner argued that, under California’s identical ana-

logue to Fla. Stat. § 620.8405, the remaining partners were personally liable for his buyout. Id. at

1230. The court rejected that argument, explaining that the provision “must be construed in the

context of the UPA provisions that apply to limited liability partnerships, which are entirely dif-

ferent from general partnerships.” Id. (emphasis in original). Partners in a limited liability partner-

ship, the court explained, are “not liable” for “debts, obligations, or liabilities of or chargeable to

the partnership.” Id. (quoting Cal. Corp. Code § 16306(c)). Because the “purchase of a dissociating

partner’s interest” under California’s buyout statute was “clearly an obligation of the limited lia-

bility partnership,” the individual partners could not “be held individually liable for payment of

the buyout price.” Id. at 1230–32. 1

       Cyrulnik mischaracterizes Rappaport (at 13 n.3) as holding that “the individual partners

were not liable for the obligation of the partnership” because the plaintiff “did not allege that the


       1
          Cyrulnik (at 12 n.2) cites Ederer v. Gursky, 9 N.Y.3d 514 (2007), but as the Motion
explained (at 8 n.6), New York’s partnership statute is materially different from Florida’s. Ederer
has also been persuasively criticized. See Ederer, 9 N.Y.3d at 526–27 (Smith, J., dissenting); Lynn
Bai & Sarah Harden, Limited Liability Partnerships: An (Overlooked) Hole in the Shield, 23 U.
Pa. J. Bus. L. 862, 863 (2021).


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defendants engaged in any wrongful conduct.” That is incorrect. The dispositive issue was whether

the obligation allegedly breached was “an obligation of the limited liability partnership.” 197 Cal.

App. 4th at 1231. 2 If Cyrulnik’s argument is that a partner in a limited liability partnership can be

held personally liable for the partnership’s obligations so long as that partner engaged in wrongful

conduct in breach of some other obligation and giving rise to some other claim, he provides no

authority to support such bootstrapping. A partner’s breach of his or her own obligation of course

could give rise to personal liability for that breach. But subjecting the partner to personal liability

for the partnership’s breaches of its obligations would defy the statutory directive that “[a]n obli-

gation of a partnership incurred while the partnership is a limited liability partnership, whether

arising in contract, tort, or otherwise, is solely the obligation of the partnership.” Fla. Stat. §

620.8306(3) (emphasis added).

       Cyrulnik’s statutory claims concern partnership obligations. This means that, to the extent

he seeks to hold Holcomb, Normand, and Friedland personally liable for damages, these claims

fail. If Cyrulnik were entitled to a buyout, as shown, then Fla. Stat. § 620.8701(1) places that ob-

ligation on the Firm. As to his claims for an accounting and dissolution, he offers no response to

the Motion’s arguments that the corresponding statutes do not sustain claims for money damages

against individual partners—which is what he seeks. He thus concedes the point. See Mot. at 7–9;

Cole v. Blackwell Fuller Music Publ’g, LLC, 2018 WL 4680989, at *7 (S.D.N.Y. Sept. 28, 2018)

(“Numerous courts have held that a plaintiff’s failure to address an issue in its opposition raised

by its adversary amounts to a concession or waiver of the argument.” (collecting cases)). Finally,

Cyrulnik’s own authority refutes his claim for attorneys’ fees. This precedent makes clear that, in


       2
         Heller v. Pillsbury Madison & Sutro, 50 Cal. App. 4th 1367 (1996), does not address the
relevant issue of whether a partner in a limited liability partnership may be held personally liable
for obligations that RUPA assigns to the partnership.


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the first instance, “the costs of a suit for a partnership accounting” are “paid out of the partnership

estate.” Larmoyeux v. Montgomery, 963 So. 2d 813, 821 (Fla. 3d DCA 2007).

 II.   THE COURT SHOULD DISMISS CYRULNIK’S COMMON LAW CLAIMS
       AGAINST HOLCOMB, NORMAND, AND FRIEDLAND

       The Motion showed (at 10) that Cyrulnik’s common law claims lack the essential elements

of either damages to, or the taking of some benefit from, the plaintiff. The only individual acts of

Holcomb, Normand, and Friedland that Cyrulnik alleges are their removal votes. But by his own

allegation, “such a removal would not impact Cyrulnik’s core compensation rights under the

MOU in any event.” (¶ 81.) He thus had the same “core compensation rights” after Holcomb,

Normand, and Friedland cast their votes as he did beforehand. And any subsequent events that

affected his compensation were, as explained in the Motion (at 15–16), the Firm’s actions.

Cyrulnik also fails to allege that Holcomb, Normand, or Friedland received any pecuniary benefit.

       Cyrulnik attempts to fix his pleading by suggesting (at 17) that his allegations are cabined

to only one out of two “arguments (and sets of claims)” that he advances. He goes so far as to

proclaim (at 18 & n.9) that if Holcomb, Normand, and Friedland entertain his second alternative

argument, this is a judicial admission that his removal lacked cause. Not so.

       Just as Rule 12(b)(6) instructs, Holcomb, Normand, and Friedland have assumed

Cyrulnik’s allegations are true—setting aside those that are vague or conclusory—and then as-

sessed whether, on this assumption, Cyrulnik has stated a plausible claim. See Hyunmi Son v. Reina

Bijoux, Inc., 823 F. Supp. 2d 238, 241 (S.D.N.Y. 2011). Cyrulnik’s allegation that removal did not

affect his compensation rights means that regardless of whether or not there was cause for his

removal, that removal did not affect his compensation. The votes that Holcomb, Normand, and

Friedland cast therefore caused him no financial harm.




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       If Cyrulnik means to suggest that he is pleading only that in an alternative world where

there was cause for his removal that “such a removal would not impact Cyrulnik’s core compen-

sation rights under the MOU in any event,” that position is untenable. It would leave him alleging

that in the first of two alternative scenarios alleged, there was no cause for his removal, and re-

moval did impact his compensation rights; and in the second alternative scenario, there was cause

for his removal, and removal did not impact his compensation rights. Taken together, these alle-

gations would mean Cyrulnik would be entitled to more compensation if there were cause for his

removal and less compensation if there were no cause for his removal. That makes no sense.

       With respect to the further grounds for dismissal of the common law claims set forth in the

Motion, Cyrulnik is tellingly silent:

           •   Cyrulnik’s own allegations undercut any inference that Holcomb, Normand, or

               Friedland obtained more valuable equity stakes by removing him, because he al-

               leges that his business accounted for disproportionate profits. (Mot. at 4.) No re-

               sponse.

           •   Cyrulnik does not allege Holcomb, Normand, or Friedland obtained any more To-

               kens. (Mot. at 4.) No response.

           •   An allegation that the removal of an equity partner necessitates increases to the

               remaining partners’ equity percentages to total 100% is insufficient. (Mot. at 12–

               13.) No response.

           •   If Cyrulnik had a claim for compensation, it would be a buyout pursuant to Fla.

               Stat. § 620.8701, which would leave the equity stakes of the remaining partners no

               more valuable than they were before. (Mot. at 13 n.8.) No response.




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           •   Cyrulnik has alleged no promise of a benefit distinct from consequences that nec-

               essarily follow from an equity partner’s removal. (Mot. at 13.) No response.

           •   The compensation obligations at issue are the Firm’s. (Mot. at 14–15.) No response.

           •   Holcomb, Normand, and Friedland cannot cause the Firm to pay Cyrulnik. (Mot. at

               15.) No response.

           •   Cyrulnik’s allegations of conduct affecting his compensation concern acts of the

               Firm. (Mot. at 15–16.) No response.

       The few efforts Cyrulnik does make to deflect the pleading and logical deficiencies in his

claims are unavailing.

       First, to the extent Cyrulnik suggests (at 14–15) that Holcomb, Normand, and Friedland

breached the implied covenant and their fiduciary duties by “depriv[ing]” him of assets, the Motion

explains (at 15–16) that he does not allege any facts that support a plausible inference that they, as

opposed to the Firm, did anything to “deprive” him of compensation. See Phelps v. Frampton, 170

P.3d 474, 481 (Mont. 2007) (dismissing claim against individual partner, where plaintiff did “not

identify an obligation under the Agreement and a corresponding breach of that obligation” by the

individual partner) (emphasis in original). 3 Cyrulnik’s vague (and unfounded) accusations (at 15)

of “engaging in related efforts to improperly deprive him of his assets” are too conclusory to sup-

port claims even if they had been alleged.



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          Cyrulnik cites Lawlis v. Kighlinger & Gray, 562 N.E.2d 435 (Ind. Ct. App. 1990), for the
proposition that “when a partner is involuntarily expelled from a business and the power to invol-
untarily expel partners granted by a partnership agreement is exercised in bad faith or for a preda-
tory purpose, the partnership agreement is violated, giving rise to an action for damages the af-
fected partner has suffered as a result of his expulsion.” (Cleaned up.) Setting aside that this deci-
sion was based on statutory language specific to Indiana, Cyrulnik’s claims fail precisely because
he has failed to allege damage he suffered “as a result of his expulsion,” as opposed to damages
resulting from subsequent actions taken by the Firm related to his compensation.


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        Second, Cyrulnik’s effort (at 16–17) to highlight the complaint that the Firm filed against

him just reinforces that the actions related to his compensation were actions of the Firm.

        Third, Cyrulnik’s suggestion (at 15 n.5) that Holcomb, Normand, and Friedland are “liable

for conversion to the extent they have taken any Token distributions” fails because he cannot allege

distributions beyond their MOU entitlements. See, e.g., Transcapital Bank v. Shadowbrook at

Vero, LLC, 226 So. 3d 856, 864 (Fla. 4th DCA 2017) (“[A] party which does not personally receive

property which is the subject of an alleged conversion or civil theft cannot be held liable for such

action.”).

        At bottom, Cyrulnik has alleged votes by Holcomb, Normand, and Friedland that, accord-

ing to his own allegations, caused him no financial harm because they did not affect his “core

compensation rights.” And he has alleged subsequent acts and omissions of the Firm related to his

compensation rights. These allegations do not add up to any claim against Holcomb, Normand, or

Friedland. The only way they could is if Holcomb, Normand, or Friedland were personally liable

for the Firm’s obligations, which Fla. Stat. § 620.8306(3) prohibits. The common law claims

against Holcomb, Normand, and Friedland must be dismissed.

III.    IN THE ALTERNATIVE, THE COURT SHOULD ORDER CYRULNIK TO
        MAKE A MORE DEFINITE STATEMENT

        The Motion argued (at 16–17) that the Court should not permit Cyrulnik and his counsel

to trade on ambiguity in their pleading to squeeze past a motion to dismiss while withholding any

specification of the factual basis for his claims.

        Remaining coy about what he means to allege, Cyrulnik suggests (at 19) that Holcomb,

Normand, and Friedland have somehow conceded that they expected to receive some benefit. Not

so. The point of the passage Cyrulnik selectively excerpts is that it is not clear whether Cyrulnik

is alleging, on the one hand, merely that a partner’s removal increases the equity percentages of



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the remaining partners, or on the other hand, that Holcomb, Normand, and Friedland expected to

receive some pecuniary benefit in exchange for their votes. (Mot. at 18–19.)

       Cyrulnik is also wrong to suggest that any allegations that can be “summarized” pass mus-

ter. See, e..g., Ashcroft v. Iqbal, 556 U.S. 662 (2009); Bell Atl. Corp. v. Twombly, 550 U.S. 544

(2007). Nor does the fact that the Firm answered Cyrulnik’s allegations by denying them imply

any waiver. See Patel v. Contemporary Classics of Beverly Hills, 259 F.3d 123, 126 (2d Cir. 2001)

(“[T]he defense of failure to state a claim is not waivable.”).

       It is telling that Cyrulnik’s counsel (at 19 n.10) disclaims any certification obligation under

Rule 11(b)(3). But that is just what Rule 11(b)(3) says: “By presenting to the court a pleading . . .

an attorney . . . certifies that to the best of the person’s knowledge, information, and belief, formed

after an inquiry reasonable under the circumstances . . . the factual contentions have evidentiary

support or, if specifically so identified, will likely have evidentiary support after a reasonable op-

portunity for further investigation or discovery.”

       Cyrulnik’s counsel is thus unprepared to make this certification for any actual allegation

that Holcomb, Normand, and Friedland expected to receive some pecuniary benefit in exchange

for their votes. Cyrulnik is willing to commit (at 19 n.10) only to the theory that the “the removal

of an equity partner increases the equity percentages of the remaining equity partners.” This tau-

tology, as noted, does not plausibly support the conclusion that Holcomb, Normand, and Friedland

received a pecuniary benefit, because that conclusion is incoherent under Cyrulnik’s allegations.

(Mot. at 4, 12–13 & n.8). He alleges that he was responsible for an outsized portion of the Firm’s

revenue (which necessarily means that eliminating this revenue would necessarily diminish, not

increase, the pecuniary value of the remaining partners’ equity), and he also alleges that his re-

moval did not affect his core compensation rights (which necessarily means that the value of equity




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remaining in the Firm would be diminished by the value of compensation owed to Cyrulnik for

his equity, leaving the remaining partners with equity stakes that were higher in percentage terms

but of no greater pecuniary value). (¶¶ 4, 40, 81.) Contradictory or incoherent allegations cannot

satisfy Iqbal or Twombly. See, e.g., Accurate Grading Quality Assur., Inc. v. Thorpe, 2013 WL

1234836, at *8 (S.D.N.Y. Mar. 26, 2013); Charles Ramsey Co. v. Fabtech-NY LLC, 2020 WL

352614, at *13 (N.D.N.Y. 2020) (collecting precedent).

        Cyrulnik appears to suggest (at 19 n.10) that the Court should overlook these pleading

deficiencies because (he wrongly thinks) discovery may unearth facts that could help him. But the

Federal Rules do not permit a plaintiff to shoot first and ask questions later, particularly where

personal livelihoods are at stake. With no basis for the false speculations that he evidently harbors,

Cyrulnik nevertheless sought to hold Holcomb, Normand, and Friedland personally liable for pre-

posterous sums. Under Rules 12(b)(6) and 12(e), the Court should dismiss the claims against Hol-

comb, Normand, and Friedland, or else put Cyrulnik to the task of making a more definite state-

ment, if he is willing to do so.




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                                          CONCLUSION

       Holcomb, Normand, and Friedland respectfully submit that the Court should dismiss all

claims against them with prejudice pursuant to Rule 12(b)(6) or, at a minimum, order a more def-

inite statement pursuant to Rule 12(e).

Dated: June 8, 2022
       New York, NY

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                             CERTIFICATE OF COMPLIANCE

       I hereby certify that according to the word count feature of the word processing program

used to prepare this brief, the brief contains 2,800 words (exclusive of the cover page, certificate

of compliance, table of contents, and table of authorities), and complies with Local Civil Rule 11.1

of the Southern District of New York, as well as with this Court’s Individual Practice Rule 2.D.




                                                                  Sean Hecker




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